Case 2:05-cr-20142-.]DB Document 26 Filed 06/08/05 Page 1 of 2 Page|D 25
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IN THE UNITED sTATEs DISTRICT Coumr£o st Y§fi- D"*"'
FoR THE WEsTERN DISTRICT oF TENNESSEE _ 35
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UNITED STATES OF AMERICA,
Plaintiff,

v. No. 05-20142-B/P

CALVIN MCNARY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Second Motion for Waiver of Counselor, filed on May
31, 2005 (Docket Entry No. 20) and Defendant’s Third Motion for Waiver of Counselor, filed
on June l, 2005 (Docket No. 24), construed by the Court as motions to dismiss counsel.

These motions are referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

IT ls so oRDERED this S’ day of June, 2005.

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. DANIEL BREEN \
IT sTATEs DISTRICT JUDGE

":'iiis document entered on the docket sheet in compliance
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UNITED sTATE D"isiC COURT - WESNTER D's'TRCT oFTENNEssEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

